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IN THE UNITED STATES DISTRICT COURT SEP 14 pai

FOR THE DISTRICT OF NEW MEXICO. | MATTHEW y

LeaeYXMAN
UNITED STATES OF AMERICA, CRIMINAL NO. jO-Blod 6, |
Plaintiff, Count 1: 21 U.S.C. § 846: Conspiracy to
Distribute 500 Grams and More of a
vs. Mixture and Substance Containing a
Detectable Amount of Methamphetamine;
LUCAS PAEZ,
RORY WOLF, and Count 2: 21 U.S.C. § 846: Conspiracy to
JESUS GUTIERREZ, Distribute Cocaine;
Defendants. Counts 3 and 4: 21 U.S.C. §§ 841(a)(1)

and (b)(1}{B): Distribution of 50 Grams
and More of a Mixture and Substance
Containing a Detectable Amount of
Methamphetamine;

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) Count 5: 21 U.S.C. §§ 841(a}(1) and
)  (0}(1)(B): Possession with intent to

) Distribute 50 Grams and More of a

) Mixture and Substance Containing a
)} Detectable Amount of Methamphetamine;
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Counts 6-9: 21 U.S.C. §§ 841(a}(1}
and (b)(1}(C): Distribution of Cocaine; 18
U.S.C. § Aiding and Abetting;

Counts 10 and 11: 21 U.S.C. §§ 841(a)(1)
and (b)(1)(C): Possession with Intent to
Distribute Cocaine; and

Count 12: 21 U.S.C. §§ 841(a)(1) and
(b}{1)(C): Possession with Intent to
Distribute a Mixture and Substance
Containing a Detectable Amount of
Methamphetamine.

INDICTMENT

The Grand Jury charges:

 
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Count 1
Between from at least on or about July 27, 2009 and continuing to August 17,
2010, in the District of New Mexico, and elsewhere, the Defendants, LUCAS PAEZ and
RORY WOLF, did unlawfully, knowingly and intentionally conspire and agree with each
other and with other persons whose names are known and unknown to the grand jury to
commit the following offense against the United States, that is, distribution of 500 grams
and more of a mixture and substance containing a detectable amount of
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1}{A).
In violation of 21 U.S.C. § 846.
Count 2
Between from at least on or about April 15, 2010 and continuing to August 17,
2010, in the District of New Mexico, and elsewhere, the Defendants, LUCAS PAEZ and
JESUS GUTIERREZ, did unlawfully, knowingly and intentionally conspire and agree
with each other and with other persons whose names are known and unknown to the
grand jury to commit the following offense against the United States, that is, distribution
of cocaine, in violation of 21 U.S.C. §§ 841{a)(1) and (b)(1}(C).
In violation of 21 U.S.C. § 846.
Count 3
On or about March 12, 2009, in Bernalillo County, in District of New Mexico, the
Defendant, LUCAS PAEZ, did unlawfully, knowingly and intentionally distribute 50
grams and more of a mixture and substance containing a detectable amount of

methamphetamine.

 
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In violation of 21 U.S.C. §§ 841(a)(1) and (6)(1)(B).
Count 4
On or about July 26, 2010, in Sandoval County, in District of New Mexico, the
Defendant, LUCAS PAEZ, did unlawfully, knowingly and intentionally distribute 50
grams and more of a mixture and substance containing a detectable amount of
methamphetamine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B).
Count 5
On or about August 17, 2010, in Sandoval County, in District of New Mexico, the
Defendant, LUCAS PAEZ, did unlawfully, knowingly and intentionally possess with
intent to distribute 50 grams and more of a mixture and substance containing a
detectable amount of methamphetamine.
In violation of 21 U.S.C. §§ 841(a)}{1) and (b)(1)(B).
Count 6
On or about March 15, 2010, in Sandoval County, in District of New Mexico, the
Defendant, LUCAS PAEZ, did unlawfully, knowingly and intentionally distribute a
mixture and substance containing a detectable amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
Count 7
On or about March 31, 2010, in Sandoval County, in District of New Mexico, the
Defendant, LUCAS PAEZ, did unlawfully, knowingly and intentionally distribute a
mixture and substance containing a detectable amount of cocaine.

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
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Count 8
On or about April 15, 2010, in Bernalillo County, in District of New Mexico, the
Defendants, LUCAS PAEZ and JESUS GUTIERREZ, did unlawfully, knowingly and
intentionally distribute a mixture and substance containing a detectable amount of
cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2.
Count 9
On or about July 26, 2010, in Sandoval County, in District of New Mexico, the
Defendant, LUCAS PAEZ, did unlawfully, knowingly and intentionally distribute a
mixture and substance containing a detectable amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1} and (b)(1)(C).
Count 10
On or about August 17, 2010, in Sandoval County, in District of New Mexico, the
Defendant, LUCAS PAEZ, did unlawfully, knowingly and intentionally possess with
intent to distribute a mixture and substance containing a detectable amount of cocaine.
In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
Count 11
On or about August 17, 2010, in Bernalillo County, in District of New Mexico, the
Defendant, JESUS GUTIERREZ, did unlawfully, knowingly and intentionally possess
with intent to distribute a mixture and substance containing a detectable amount of
cocaine.

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).

 
 

 

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Count 12

On or about August 17, 2010, in Bernalillo County, in District of New Mexico, the
Defendant, RORY WOLF, did unlawfully, knowingly and intentionally possess with
intent to distribute a mixture and substance containing a detectable amount of
methamphetamine.

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).

FORFEITURE ALLEGATION

1. The allegations contained in Counts One through Twelve of this Indictment
are hereby realleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to 21 U.S.C. § 853.

2. Pursuant to 21 U.S.C. § 853, upon conviction of any of the offenses alleged
in this Indictment, the Defendants, LUCAS PAEZ, RORY WOLF, and JESUS
GUTIERREZ, shall forfeit to the United States any property constituting, or derived from,
proceeds obtained, directly or indirectly, as a result of any such offenses and any property
used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of any of the offenses. The property to be forfeited includes, but is not limited
to, the following:

a) A sum of money equal to $218,080 United States currency,
representing the amount of money derived from or involved in the offenses, for which
the Defendants are jointly and severally liable.

3. If any of the property described above, as a result of any act or omission
of the defendant(s):

a) cannot be located upon the exercise of due diligence;

b) has been transferred or sold to, or deposited with, a third party;

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Cc} has been placed beyond the jurisdiction of the court;
d} has been substantially diminished in value; or
e} has been commingled with other property which cannot be divided
without difficulty,
the United States of America shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p).

A TRUE BILL:

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